            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                             1:15 CR 85-10


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                ORDER
                                       )
AMANDA BROOKE McKINNEY.                )
                                       )
______________________________________ )


      THIS CAUSE coming on to be heard before the undersigned at the close of

a Rule 11 proceeding that was held before this Court on August 24, 2016. It

appeared to the Court at the call of this matter on for hearing the Defendant was

present with her attorney, Marcos Roberts and the Government was present and

represented through AUSA Don Gast. From the arguments of counsel for Defendant

and the arguments of the Assistant United States Attorney and the records in this

cause, the Court makes the following findings:

      Findings.   On September 15, 2015 a bill of indictment (#1) was issued

charging the Defendant with conspiracy to traffic in methamphetamine, in violation

of 21 U.S.C. § 846 and possessing with intent to distribute methamphetamine, in

violation of 21 U.S.C. § 841(a)(1). On August 24, 2016 the undersigned held an

inquiry, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, and


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accepted a plea of guilty of the Defendant to the charge of conspiracy to traffic in

methamphetamine. At the end of the Rule 11 proceeding, this Court presented the

issue of whether or not Defendant should now be detained, pursuant to 18 U.S.C. §

3143(a)(2).

      Discussion.     18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or (C)
      of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

             (A)(i) the judicial officer finds there is a substantial likelihood
      that a motion for acquittal or new trial will be granted; or

              (ii) an attorney for the Government has recommended that no
              sentence of imprisonment be imposed on the person; or

              (B) the judicial officer finds by clear and convincing evidence
              that the person is not likely to flee or pose a danger to any other
              person or the community.

      From an examination of the records in this cause, it appears Defendant has

entered a plea of guilty to 21 U.S.C. § 841(a)(1). That crime is one of the crimes

that is referenced under 18 U.S.C. § 3142(f)(1)(C).

      The undersigned made an inquiry of AUSA Don Gast as to whether or not

there will be a recommendation that no sentence of imprisonment be imposed upon

Defendant. Mr. Gast advised the Court that such a recommendation could not be

made in this matter. Due to the plea of guilty, the undersigned cannot find there is

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a likelihood that a motion for acquittal or new trial will be granted.

      It would thus appear, and the Court is of the opinion that the Court is required

to apply the factors as set forth under 18 U.S.C. § 3143(a)(2) which mandate the

detention of Defendant.

                                       ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release in this matter are hereby revoked and it is ORDERED that the Defendant be

detained pending further proceedings in this matter. This Order is entered without

prejudice to the Defendant filing a motion requesting a hearing concerning the issue

of if there are extraordinary circumstances that would warrant the release of

Defendant.


                                        Signed: August 30, 2016




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